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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                                NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6
                                        MAURY ADKINS,
                                   7                                                        Case No. 15-cv-02035-BLF
                                                       Plaintiff,
                                   8                                                        ORDER GRANTING DEFENDANT’S
                                                v.                                          MOTION TO DISMISS WITH LEAVE
                                   9                                                        TO AMEND
                                        HEWLETT-PACKARD COMPANY,
                                  10                                                        [Re: ECF 14]
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          This putative class action concerns a one-year limited warranty on computer hardware that

                                  14   is supposed to commence on the date of purchase. Plaintiff Maury Adkins (“Plaintiff”) claims that

                                  15   defendant Hewlett-Packard Company (“Defendant” or “HP”) has a corporate policy of beginning

                                  16   the warranty term earlier than the date of purchase for HP computers sold through retailers,

                                  17   purportedly for the purpose of providing “pre-activation support.” Compl. ¶¶ 3, 26, 31, ECF 1-1.

                                  18   Consumers may not be aware of this policy because when they register their HP computers to

                                  19   activate the warranty, they are not asked for their date of purchase, nor do they receive an accurate

                                  20   start and end date for the warranty. Id. ¶ 25. Plaintiff further alleges that unless a consumer asks

                                  21   HP to revise the commencement date to coincide with the date of purchase at the beginning of the

                                  22   warranty term, HP will deny warranty support one year after the start of the “pre-activation

                                  23   support” period even if the consumer requests support within one year of the date of purchase. Id.

                                  24   ¶ 26. Based on this alleged policy, Plaintiff was unable to obtain warranty support in November

                                  25   2014 for an HP laptop that he purchased from Wal-Mart on November 16, 2013. Id. ¶¶ 27, 32.

                                  26   Plaintiff therefore seeks to represent a nationwide class on claims against Defendant for (1)

                                  27   violation of California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civil Code § 1750 et

                                  28   seq.; (2) violation of California’s False Advertising Law (“FAL”), Cal. Bus. & Prof. Code § 17500
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                                   1   et seq.; (3) fraud, deceit, and misrepresentation; (4) violation of California’s Unfair Competition

                                   2   Law (“UCL”), Cal. Bus. & Prof. Code § 17200 et seq.; (5) breach of express warranty; and (6)

                                   3   breach of contract.

                                   4            Before the Court is Defendant’s Motion to Dismiss, ECF 14, which was heard on August

                                   5   20, 2015. For the reasons stated on the record and summarized below, the motion is GRANTED

                                   6   with leave to amend.1

                                   7            All of Plaintiff’s claims rest on a theory of fraud and/or misrepresentation that has evolved

                                   8   somewhat between the Complaint and the briefing on Defendant’s motion. By Plaintiff’s own

                                   9   admission, the Complaint is not entirely clear in stating that the claims in this case revolve around

                                  10   Defendant’s alleged policy of starting the one-year warranty before purchase for “pre-activation

                                  11   support.” Plaintiff shall therefore have leave to amend to more clearly articulate his theory and the

                                  12   “who, what, when, where, and how” of Defendant’s fraud, with particular emphasis on the “what.”
Northern District of California
 United States District Court




                                  13   See Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003).

                                  14            Because Plaintiff purchased his HP computer in Massachusetts and is not a California

                                  15   resident, Plaintiff must allege facts to demonstrate that he can state claims for relief under

                                  16   California law.2 The ordinary presumption against the extraterritorial application of California

                                  17   law applies with full force to the UCL, FAL, and CLRA. See Sullivan v. Oracle Corp., 51 Cal.

                                  18   4th 1191, 1207 (2011); Wilson v. Frito-Lay N. Am., Inc., 961 F. Supp. 2d 1134, 1147-48 (N.D.

                                  19   Cal. 2013). Where none of the alleged misconduct or injuries occurred in California, a non-

                                  20   California resident cannot sustain claims under California law. Wilson, 961 F. Supp. 2d at 1147.

                                  21   “In determining whether California law should apply to a certain claim, courts consider facts like

                                  22   where the defendant is located, where the class members are located, and where decisions about

                                  23   the behavior in question were made.” Id. at 1148 (citing In re Toyota Motor Corp., 785 F. Supp.

                                  24   2d 883, 917 (C.D. Cal. 2011). Here, although Defendant is headquartered in California, it is not

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                                  26    Defendant’s Request for Judicial Notice, ECF 20, is DENIED because the Court finds the email
                                       communications between HP and Plaintiff neither appropriate for judicial notice nor incorporated
                                  27   by reference into the Complaint. The emails and Federal Rule of Civil Procedure 11 should,
                                       however, inform how Plaintiff amends the allegations in the Complaint.
                                  28   2
                                           Defendant does not challenge Plaintiff’s alternative pleadings under Massachusetts law.
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                                   1   clear where the allegedly unlawful conduct took place, in large part because Plaintiff’s theory of

                                   2   liability still requires clarification. Plaintiff must therefore amend to allege facts regarding the

                                   3   nexus between his claims and California sufficient to overcome the presumption against

                                   4   extraterritoriality.

                                   5           Plaintiff shall file his amended complaint by no later than October 20, 2015. In light of

                                   6   the Court’s ruling on Defendant’s Motion to Dismiss, the Court finds good cause to CONTINUE

                                   7   the Initial Case Management Conference in this matter to December 17, 2015 at 11:00 a.m. in

                                   8   Courtroom 3, 5th Floor, San Jose.

                                   9           IT IS SO ORDERED.

                                  10   Dated: August 20, 2015

                                  11                                                     ______________________________________
                                                                                         BETH LABSON FREEMAN
                                  12                                                     United States District Judge
Northern District of California
 United States District Court




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